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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


 HE DEPU, et al.,

                                Plaintiffs,
                                                              Case No. 17-0635 (RDM)
                        v.
                                                               Judge Randolph D. Moss
 OATH HOLDINGS, INC., et al.,

                                Defendants.


                 PLAINTIFFS’ UNOPPOSED MOTION FOR
    ATTORNEYS’ FEES, EXPENSE REIMBURSEMENT, AND SERVICE AWARDS

       Having reached a settlement with the defendants in the above-captioned litigation, the

plaintiffs He Depu, Li Dawei, Wang Jinbo, Ouyang Yi, Xu Yonghai, and Xu Wanping and their

counsel, Farra & Wang PLLC and Slarskey LLC, move this Court for entry of an order: (1)

awarding the plaintiffs’ counsel attorneys’ fees comprising 30% of the $5,425,000 settlement

fund; (2) awarding the plaintiffs’ counsel an additional amount of $182,950.77 as reimbursement

for expenses incurred in this litigation; and (3) awarding each plaintiff an incentive award, with

He Depu receiving $55,000 and the other plaintiffs each receiving $50,000.

       This motion is accompanied by a memorandum of points and authorities, the Declaration

of Times Wang, the Declaration of He Depu, and a proposed order.

 Date: April 15, 2025                                Respectfully submitted,

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